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   1
       STEPHEN M. LOBBIN
       sml@smlavvocati.com
   2   SML AVVOCATI P.C.
   3
       888 Prospect Street, Suite 200
       San Diego, California 92037
   4   (949) 636-1391 (Phone)
   5
       JAY JOHNSON
   6   State Bar No. 24067322
   7   KIZZIA JOHNSON, PLLC
       1910 Pacific Ave., Suite 13000
   8   Dallas, Texas 75201
   9   (214) 451-0164
       Fax: (214) 451-0165
  10   jay@kjpllc.com
  11
       Attorney(s) for Plaintiff Rothschild Broadcast Distribution, LLC
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  13
                        IN THE UNITED STATES DISTRICT COURT
  14                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                          WESTERN DIVISION – LOS ANGELES
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  16
        ROTHSCHILD BROADCAST
        DISTRIBUTION, LLC,                             CASE NO.: 8:20-cv-05138-PSG-MAA
  17
                            Plaintiff,
  18
                                                            NOTICE OF VOLUNTARY
        v.
  19
                                                                    DISMISSAL
  20    QUIBI, LLC,
  21                        Defendant.
  22

  23

  24         Plaintiff Rothschild Broadcast Distribution, LLC hereby files this Notice of
  25
       Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure
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  27   41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the
  28   plaintiff without order of court by filing a notice of dismissal at any time before
                                                  1
                                    NOTICE OF VOLUNTARY DISMISSAL
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       service by the adverse party of an answer. Accordingly, Rothschild Broadcast

   2   Distribution, LLC hereby voluntarily dismisses this action against Quibi, LLC with
   3
       prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and
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   5   costs.

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       Dated: September 25, 2020              Respectfully submitted,
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   9                                          /s/Stephen Lobbin
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                                   NOTICE OF VOLUNTARY DISMISSAL
